Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 1 of 154




                 EXHIBIT A
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 2 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 3 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 4 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 5 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 6 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 7 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 8 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 9 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 10 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 11 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 12 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 13 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 14 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 15 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 16 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 17 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 18 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 19 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 20 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 21 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 22 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 23 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 24 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 25 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 26 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 27 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 28 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 29 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 30 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 31 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 32 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 33 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 34 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 35 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 36 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 37 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 38 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 39 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 40 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 41 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 42 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 43 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 44 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 45 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 46 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 47 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 48 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 49 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 50 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 51 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 52 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 53 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 54 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 55 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 56 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 57 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 58 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 59 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 60 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 61 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 62 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 63 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 64 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 65 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 66 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 67 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 68 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 69 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 70 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 71 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 72 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 73 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 74 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 75 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 76 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 77 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 78 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 79 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 80 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 81 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 82 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 83 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 84 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 85 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 86 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 87 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 88 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 89 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 90 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 91 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 92 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 93 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 94 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 95 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 96 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 97 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 98 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 99 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 100 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 101 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 102 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 103 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 104 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 105 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 106 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 107 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 108 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 109 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 110 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 111 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 112 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 113 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 114 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 115 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 116 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 117 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 118 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 119 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 120 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 121 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 122 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 123 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 124 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 125 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 126 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 127 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 128 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 129 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 130 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 131 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 132 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 133 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 134 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 135 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 136 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 137 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 138 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 139 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 140 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 141 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 142 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 143 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 144 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 145 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 146 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 147 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 148 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 149 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 150 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 151 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 152 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 153 of 154
Case 1:23-cr-00490-SHS   Document 223-1   Filed 02/28/24   Page 154 of 154
